   AO 187 (Rev. 7/87) Exhibit and Witness List


                                                  UNITED STATES DISTRICT COURT
                                MIDDLE                                                  DISTRICT OF                      TENNESSEE


              UNITED STATES OF AMERICA
                                                                                                                       EXHIBIT AND WITNESS LIST
                                 V.
                       Chester Gallagher, et al.                                                                         Case Number: 3:22-cr-327

PRESIDING JUDGE                                                       PLAINTIFF’S ATTORNEY                                       DEFENDANT’S ATTORNEY
                       ALETA TRAUGER                                                    Klopf, Boynton, Beaye                       Bell, Parris, Komisar, Haymaker, Thornton,
TRIAL DATE (S)                                                        COURT REPORTER                                             COURTROOM DEPUTY
             1/24/2024-1/26/2024                                                 Roxann Harkins                                             Katheryn Beasley
 PLF.       DEF.        DATE
                                      MARKED         ADMITTED                                               DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.        NO.        OFFERED

                                                                     Defense counsel continued: Cranston, Russ, Conway.

      X                1/24,2024                                     WIT: Lance Schneider, Mt. Juliet Police Department officer

      3I               1/24/2024                           X         Video Clip #9

     16                1/24/2024                           X         Video Clip- Google Drive video

      X                1/25/2024                                     WIT: Sarah Flowers, employee at the Carafen reproductive health clinic

        4              1/25/2024                           X         Clinic employee full recording

     4A                1/25/2024                           X         Still photo from recording

     4B                1/25/2024                           X         still photo from recording from exhibit 4.

                   1   1/25/2024                           X         Gallagher: Picture of clinic hallway

               1A      1/25/2024                           X         Gallagher: Photo hallway


                   2   1/25/2024                           X         Gallagher: Photo (blurry) of hallway


               2A      1/25/2024                           X         Gallagher: Photo of hallway


               2B      1/25/2024                           X         Gallagher: Photo of hallway


                   1   1/25/2024                           X         Boyd: Photo of Boyd holding 2 cell phones


     19                1/25/2024                           X         Stipulation agreement by the parties to the accuracy of certain exhibits as to Coleman Boyd’s Facebook account

     20                1/25/2024                           X         Stipulation agreement by the parties to the accuracy of certain exhibits as to Paul Vaughn’s interview


     22                1/25/2024                           X         Stipulation agreement by the parties to the accuracy of certain exhibits as to Chet Gallagher’s email addresses


     24                1/25/2024                           X         Stipulation as to where Coleman Boyd was standing conducting livestream on Facebook


      X                1/25/2024                                     WIT: Caroline Davis. Co-defendant


     1A                1/25/2024                           X         Colman Boyd Recording Clip 1.

* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

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 AO 187A (Rev. 7/87)               EXHIBIT AND WITNESS LIST – CONTINUATION
                                                                                                     CASE NO.
                     USA                       vs.             Chester Gallagher, et al.                                   3:22-cr-327
PLF.       DEF.    DATE
                              MARKED   ADMITTED                                 DESCRIPTION OF EXHIBITS AND WITNESSES
NO.        NO.    OFFERED

IC-E              1/25/2024               X       Clips of Coleman Boyd’s recordings

   F              1/25/2024               X       Photo Coleman Boyd

2A-P              1/25/2024               X       Clips of Dennis Green recordings

3A-D              1/25/2024               X       Clips of Chet Gallagher’s recordings

3G-M              1/25/2024               X       Clips of Chet Gallagher’s recordings

2Q-R              1/25/2024               X       Still shots from Dennis Green’s recording

  3P              1/25/2024               X       Clip of Chet Gallagher’s recordings

  3Q              1/25/2024               X       Clip of Chet Gallagher’s recordings

  3R              1/25/2024               X       Clips of Chet Gallagher’s recordings

3N--O             1/25/2024               X       Clip of Chet Gallagher’s recordings

   17             1/25/2024               X       Clip from Google Drive Video

5A-B              1/25/2024               X       WZTV recording Clips 1 & 2.

   X              1/26/2024                       WIT: Melissa Ashby, visitor of clinic

   X              1/26/2024                       WIT: Anne Marie Wood, FBI tactical analysis

       7          1/26/2024               X       2/18/2021 web history of Google account registered to Chester Gallagher

       8          1/26/2024               X       xSearch history from 2/18/2021 of Google account registered to Chester Gallagher

       9          1/26/2024               X       Web history from 2/25/2021 of Google account registered to Chester Gallagher

   10             1/26/2024               X       Search history from 2/25/2021 of Google account registered to Chester Gallagher

   11             1/26/2024               X       Facebook excerpt - messenger from account registered to Coleman Boyd

   12             1/26/2024               X       Facebook excerpt -status update from account registered to Coleman Boyd

   13             1/26/2024               X       Facebook excerpt - messenger from account registered to Chester Gallagher

 14B              1/26/2024               X       Demonstrative Exhibit - communication timeline

   X              1/26/2023                       WIT: Nicholas Ashby, husband of Melissa Ashby

              X 1/26/2024                         WIT: Travis Watkins, reserve officer with Mt. Juliet police department




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